                Case 2:11-cr-00048-JCM-CWH                         Document 18         Filed 02/09/11                  Page 1 of 1
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                                                                                            BY                        - ---   - - - - .-   .   DIEPUTY
                     United StatesofAmerica                             )                                  --
                                   v.                                   )      cascNo. 2:11-cr-48-JCM-LRL
                 RI
                  JBENAGUILAR a/k/a Payaso                              )
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                               oe.fe''
                                     clant                              )
                                          ORDER SCH EDULING A DETENTION H EARING


             A detention hearingin thiscase isscheduled asfollows:
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    1Place:u.s,nistrictCourt,333 l
                                 -asVegasBlvd South,         .                 Cotlrtrooln N O.2 Courtroom 3A
    !        LasVegas, NV 89101                                                  -               .-.. .   .--                                        ...-.

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           IT IS ORDERED: Pending the hearing,the defendantisto bedetained inthecustody ofthe United States
    marshalorany otierauthorized officer. Thectlstodian mustbring thedefendantto the hearing atthetime, date,and
    placesetfol'
               thabove.




    D ate:        02/09/2011
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                                                                                    GEORG E FOLEY.Jr. U.S. Magi
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